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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

THOMAS YOUNK

       Plaintiff,

v.                                                CASE NO.: 8:18-cv-01317-MSS-AAS

DISCOVER FINANCIAL SERVICES,

      Defendant.
_____________________________________________________________________________

               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE


       COMES NOW, Plaintiff Thomas Younk and Defendant Discover Financial Services, by

and through their undersigned counsel, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and would

represent to the Court that this action has been resolved, and would request entry of an Order

dismissing this matter with prejudice, each party to bear their own costs and attorneys’ fees.

       Respectfully submitted on December 11, 2018.

       /s/ Geoffrey E. Parmer                                /s/ David A. Elliott_________
       Geoffrey E. Parmer, Esquire                           David A. Elliott, Esq.
       Florida Bar No. 0989258                               Florida Bar No.: 0094237
       William “Billy” Peerce Howard, Esquire                Burr & Forman LLP
       Florida Bar No. 0103330                               420 N. 20t Street, Ste. 3400
       THE CONSUMER PROTECTION FIRM                          Birmingham, AL 32503
       4030 Henderson Blvd                                   Tel: (205) 458-5324
       Tampa, FL 33629                                       delliott@burr.com
       Telephone: (813) 500-1500                             cwingate@burr.com
       Facsimile: (813) 435-2369                             Attorney for Defendant
       Geoff@TheConsumerProtectionFirm.com
       Billy@TheConsumerProtectionFirm.com
       Attorney for Plaintiff
